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               EXHIBIT 3
                                                                                           Filed
Case 4:22-cv-00209 Document 1-4 Filed on 01/20/22 in TXSD Page 2 of 3 12/10/2021 12:21 PM
                                                                        Beverley McGrew Walker
                                                                                   District Clerk
                                                                        Fort Bend County, Texas
                                                                           Ashley Alaniz
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Allara Klein on behalf of Cory Itkin
Bar No. 24050808
aklein@arnolditkin.com
Envelope ID: 59912550
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Associated Case Party: Jackie Nguyen

Name             BarNumber   Email                        TimestampSubmitted    Status

Geoff Binney                 geoff.binney@gkbklaw.com 12/10/2021 12:21:32 PM    SENT



Associated Case Party: Inspections Now, Inc.

Name                  BarNumber Email                            TimestampSubmitted       Status

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David Fuchsman                       dfuchsman@brewer-law.com    12/10/2021 12:21:32 PM   SENT



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